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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                         *   CRIMINAL NO. 15-0091-05


 VERSUS                                           *   JUDGE ROBERT G. JAMES


 HAROLD A. JENKINS                                *   MAG. JUDGE KAREN L. HAYES
 a/k/a HAROLD A. JONES

                                      JUDGMENT

       The Report and Recommendation of the Magistrate Judge having been considered, and

the parties having waived their objections thereto,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the District Court

accepts the guilty plea of the defendant, Harold A. Jenkins, and adjudges him guilty of the

offense charged in Count One of the indictment against him.

       In Chambers, at Monroe, Louisiana, this 10th day of August, 2015.
